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 1   Victor M. Perez SBN# 114381
     THE PEREZ LAW FIRM
 2   1304 W. Center Street
     Visalia, CA 93291
 3   (559) 625-2626
     (559) 625-3064
 4
 5   Attorney for Defendant, GEORGE ABARCA-VALDOVINOS
 6
 7
 8                                UNITED STATES DISTRICT COURT
 9                     IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   THE PEOPLE OF THE UNITED         )                    CASE NO: 1:05 CR 00221 AWI
     STATES OF AMERICA                )
12                                    )                    STIPULATION TO CONTINUE
                        Plaintiff,    )                    HEARING W/ SUPPORTIVE
13                                    )                    DECLARATION OF
     vs.                              )                    VICTOR M. PEREZ;
14                                    )                    ORDER
     GEORGE ABARCA VALDOVINOS, et al.,)
15                                    )
                                      )
16                                    )
                       Defendant.     )
17
18          IT IS HEREBY STIPULATED by and between Plaintiff’s counsel, Assistant United States
19   Attorney, Kimberly A. Sanchez, and counsel for Defendant, GEORGE ABARCA-VALDOVINOS,
20   VICTOR M. PEREZ, that the Status Conference hearing on the above-entitled action, presently set
21   for Tuesday, January 16, 2007, at 11:00 a.m. in Department 2, shall be continued to Monday,
22   February 12, 2006. The date on which the Plea Hearing is presently calendared conflicts with a
23   confirmed assault trial, in the Kings County Superior Court- Hanford Division, which is scheduled
24   to commence on January 16, 2007 and is expected to continue for at least two (2) days. For this
25   reason, defense counsel will not be available to attend the Plea Hearing on this matter and
26   respectfully requests that this matter be continued to the above-mentioned date. In addition, the
27   parties to this action are presently in the midst of having discussions and meetings in an effort to
28   /
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 1   reach an agreement for settlement of the above-entitled matter. Additional discussions and meetings
 2   will be needed in the near future.
 3
 4
 5
 6   Date:                                                  /s/ Kimberly A. Sanchez
                                                            Kimberly A. Sanchez, AUSA
 7                                                          Attorney for Plaintiff
 8
 9
                                                            /s/ Victor M. Perez
10                                                          Victor M. Perez,
                                                            Attorney for Defendant,
11                                                          George Abarca-Valdovinos
12
                               DECLARATION OF VICTOR M. PEREZ
13                         IN SUPPORT OF STIPULATION TO CONTINUE
                                       PLEA HEARING
14
15
16   I, VICTOR M. PEREZ, hereby declare that:
17   1.      I am an attorney duly licensed to practice law in the State of California and have been
18           admitted to practice law in the jurisdiction of the United States District Court, Eastern
19           District Of California
20   2.      I am the attorney of record for Defendant, GEORGE ABARCA VALDOVINOS.
21   3.      The Plea Hearing on January 16, 2007, conflicts with a confirmed trial that is on calendar
22           to commence on January 16, 2007, in the Hanford Division of the Kings County Superior
23           Court, specifically People v. RICHARDO REYES NARANJO, et al., Kings County Superior
24           Court Case No. 06CM3474A, which is expected to extend over a period of two (2) days..
25   4.      Upon noticing that the trial on this matter would conflict with this hearing, I immediately
26           instructed my paralegal to contact the Court to see what could be done to trail this matter for
27           a minimum of two (2) weeks.
28   /
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 1   5.    On December 20, 2006, my paralegal, Jan L. Fagan, contacted Department 2 of the above-
 2         entitled Court and left a message for Harold Nazaroff, Clerk to the Honorable Judge Anthony
 3         W. Ishii, requesting instruction as to how to go about trailing this hearing.
 4   6.    On the morning of December 21, 2006, Ms. Fagan received a call back from Mr. Nazaroff
 5         and was told to contact the assigned prosecutor, agree upon a new date, then prep and file a
 6         Stipulation also noting that the new date needs to be a Monday at 9:00 a.m.
 7   7.    After talking to Mr. Nazaroff, Ms. Fagan contacted Assistant U.S. Attorney, Kimberly
 8         Sanchez.
 9   8.    After explaining to AUSA Sanchez about my conflicting court appearances, Ms. Fagan
10         offered the date of February 12, 2007 as an alternative date for this hearing.
11   9.    AUSA Sanchez responded that she had no problems with the date, but at that time, she was
12         scheduled to be on maternity leave and would check with the attorney who was taking over
13         her cases, during her absence, to see if she was available on that date.
14   10.   After putting my paralegal on hold and talking to her colleague, she responded to my
15         paralegal that the attorney taking over her cases, during her absence on maternity leave,
16         would be available to appear for this hearing, on February 12, 2007.
17   11.   Upon hearing this, my paralegal began work on this stipulation so it would be available upon
18         my arrival, at my office, for my signature and quick expedition to AUSA Sanchez for her
19         final signature and filing.
20   12.   At present, Plaintiff Counsel and I have been having discussions, to reach an agreement for
21         the settlement of the above-entitled matter.
22   13.   I believe that additional meetings and discussions will be needed in the near future.
23   14.   I believe that no harm, nor prejudice, will befall any party to this action, if the matter is
24         continued.
25   15.   I respectfully request that this hearing be continued to February 12, 2007, at 9:00 a.m. in
26         Department 2 of the above-entitled Court.
27   /
28   //
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 1           I declare, under penalty of perjury, under the laws of the United States of America, that the
 2   foregoing is true and correct.
 3
 4
     Date:                                                 /s/ Victor M. Perez
 5                                                         Victor M. Perez
                                                           Attorney for Defendant,
 6                                                         George Abarca- Valdovinos
 7
 8
                                                  ORDER
 9
10           The Plea Hearing on this matter shall be continued to February 12, 2007, at 9:00 a.m. in
11   Department 2 of the above-entitled Court.
12
13
14   IT IS SO ORDERED.
15   Dated:     January 5, 2007                         /s/ Anthony W. Ishii
     0m8i78                                       UNITED STATES DISTRICT JUDGE
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